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               GI Plum Holdco, LLC; and Quince Holdings
     9         LLC dba Pueblo Springs Rehabilitation Center
    10
    11                       UNITED STATES DISTRICT COURT
    12                     SOUTHERN DISTRICT OF CALIFORNIA
    13   PLUM HEALTHCARE GROUP, LLC, )               CASE NO. 15CV2747W MDD
         etc., et al.,               )
    14                               )               PLAINTIFFS’ RESPONSE TO
                       Plaintiffs,   )               DEFENDANTS’ SEPARATE
    15                               )               STATEMENT OF UNDISPUTED
         v.                          )               FACTS IN SUPPORT OF ITS
    16                               )               MOTION FOR SUMMARY
                                     )               JUDGMENT OR PARTIAL
    17   ONE BEACON PROFESSIONAL     )               SUMMARY JUDGMENT;
         INSURANCE, etc., et al.,    )               PLAINTIFFS’ STATEMENT OF
    18                               )               DISPUTED AND UNDISPUTED
                       Defendants.   )               FACTS
    19                               )
                                     )               (Memorandum of Points and
    20                               )               Authorities; Objections To and
                                     )               Motion To Strike Evidence;
    21                               )               Declaration of Richard A. Huver;
                                     )               Declaration William Wilson;
    22                               )               submitted concurrently.)
                                     )
    23                               )               Date: April 24, 2017
                                     )
    24                               )               Judge Thomas J. Whelan
                                     )
    25                               )               [NO ORAL ARGUMENT
                                     )               PURSUANT TO LOCAL RULE]
    26                               )
    27
    28

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     1         Pursuant to Local Rule 7.1(f), plaintiffs respond to defendants OneBeacon
     2   Professional Insurance and Homeland Insurance Company of New York’s
     3   statement of undisputed material facts in support of their motion for summary
     4   judgment or partial summary judgment.
     5           UNDISPUTED FACTS AND EVIDENCE IN SUPPORT OF
                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     6
     7   Moving Party’s Undisputed                       Plaintiff’s Response and
         Material Fact and Supporting                    Supporting Evidence:
     8   Evidence:
     9   1.    Homeland Insurance Company                1.   Undisputed.
               of New York (“Homeland”)
    10         issued a liability insurance
               policy to Plaintiffs with an
    11         inception date of August 4,
               2014 (the “Policy”).
    12
         2.    The Insuring Agreement of the             2.   Plaintiffs do not dispute that
    13         Policy’s “Claims Made General                  The Policy is a “Claims Made”
               Liability Insurance” section                   and “Claim Reported” policy
    14         states in pertinent part:                      containing these terms.
    15         “The Underwriter will pay up to
               the applicable Limit of Liability
    16         shown in ITEM 4.B. of the
               Declaration on behalf of the
    17         Insured any Loss which the
               Insured is legally obligated to
    18         pay as a result of a covered
               Claim . . . that is caused by an
    19         Occurrence happening on or
               after the Retroactive Date;
    20         provided, that the Claim is first
               made against the Insured during
    21         the Policy Period or applicable
               Extended Reporting Period and
    22         reported to the Underwriter in
               accordance with GENERAL
    23         CONDITION (C) of this
               Policy.”
    24
         3.    The Policy contained a                    3.   Undisputed.
    25         deductible of $250,000 per
               claim.
    26
    27   4.    The Policy’s General                      4.   Plaintiffs do not dispute the
               Conditions section regarding                   fact that Defendants did not
    28                                                        have to pay any combination

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     1        “Limits of Liability” stated in                of Loss/Defense expense until
              pertinent part:                                $250,000 of deductible was
     2                                                       incurred. Plaintiffs dispute
              “The Insured shall be                          any argument that a legal
     3        responsible for payment in full                defense was not required until
              of the applicable deductible or                then as the Policy requires
     4        self-insured retention stated in               defendants to immediately
              ITEM 4 of the Declarations, and                undertake the defense upon
     5        the Underwriter’s obligation to                tender of the claim. See
              pay Loss or Defense Expenses                   Defendants’ Exhibit (Defs’
     6        under this Policy shall be excess              Ex.”) 1, pg. 67, paragraphs (D)
              of such deductible or self-                    and (F).
     7        insured retention; . . . .”
     8   5.   Each of the Plaintiffs was a              5.   Undisputed.
              named insured.
     9
         6.   The Policy defined “insured” to           6.   Undisputed that for purposes
    10        include “any Employee or                       of this liability coverage, an
              Volunteer, but only when such                  employee is only considered
    11        Employee or Volunteer is                       to be an “Insured” and entitled
              acting within the capacity and                 to liability coverage if they are
    12        scope of his or her duties as                  (1) a defendant and (2) they
              such.”                                         were acting in the capacity and
    13                                                       scope of their duties when
                                                             they caused injury to someone
    14                                                       else. However, Ms. Harris
    15
                                                             was not a defendant, so this
                                                             portion of The Policy is really
    16
                                                             irrelevant. More importantly,
                                                             Ms. Harris was not an
    17                                                       “Insured.”

    18                                                       See Defs’ Ex. 1, pgs. 46 and
                                                             48.
    19
         7.   The Policy further provides that          7.   Undisputed that for purposes
    20        “an Employee’s status as an                    of liability coverage, an
              Insured is determined as of the                employee is only considered to
    21        date of the Occurrence or                      be an “Insured” and entitled to
              Wrongful Act upon which a                      liability coverage if they are
    22        Claim involving the Employee                   (1) a defendant and (2) they
              is based.”                                     were acting in the capacity and
    23                                                       scope of their duties when
                                                             they caused injury to someone
    24                                                       else. However, disputed that
                                                             this policy provision is
    25                                                       intended to define the hour at
                                                             which an injury occurs for
    26                                                       purposes of determining
                                                             whether Harris was in the
    27                                                       course and scope of her
    28

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     1                                                         employment when she was
                                                               injured. Ms. Harris was never
     2                                                         a defendant so she could not
                                                               be an “Insured” under the
     3                                                         liability coverage.
     4   8.    The Policy contained three                8.    Undisputed the Policy read as
               exclusions that read:                           quoted. Disputed that
     5                                                         defendants ever asserted
               Except as otherwise expressly                   Exclusion (D)(2) or (D)(5)
     6         provided in this Policy, this                   before this motion for
               Policy does not apply to, and the               summary judgment. Disputed
     7         Underwriter will not pay any                    that any of the three quoted
               Loss or Defense Expenses, for                   Exclusions applied to this
     8         any Claim based upon, arising                   claim.
               out of, directly or indirectly
     9         resulting from, in consequence                  Declaration of Richard A.
               of, or in any way involving any                 Huver (“Huver Dec., ¶___,”)
    10         actual or alleged:                              ¶16, and Exhibit 1, Deposition
    11
                                                               of Daniele Freaner (“Ex. 1,
               ***                                             Freaner Dep”) at 55:17 - 56:18;
    12
               (2) act, error, omission,                       58:24 - 59:12; 137:15 -
               Occurrence, Wrongful Act,                       138:11; Huver Dec., ¶17 and
    13         event, suit or demand which was                 Exhibit 2, Deposition of
               the subject of any notice given                 Maureen Ringland (“Ex. 2,
    14         under any other policy of                       Ringland Dep”), at 142:24 -
               insurance or plan or program of                 143:7; 144:1-21.
    15         self-insurance in effect prior to
               the Inception Date as set forth in
    16         ITEM 2 of the Declarations; . . .
               (5) obligation of an Insured
    17         pursuant to any workers’
               compensation, unemployment
    18         compensation, disability
               benefits or similar law; . . .
    19         (7) Claim made by or for the
               benefit of, or in the name or
    20         right of, one current or former
               Insured against another current
    21         or former Insured; ...
    22   9.    In October 2014, Janice Harris            9.    Undisputed.
               sued Plaintiffs for an injury she
    23         suffered on October 22, 2013
               (the “Accident”).
    24
    25   10.   In her complaint, Harris alleged          10.   Undisputed.
               she was an Arizona resident and
    26         the Director of Nursing for
               plaintiff Quince Holdings, LLC,
    27         one of the nursing homes in the
               Plum Healthcare network.
    28

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     1   11.   In her complaint, Harris alleged            11.   Disputed. The budget retreat
               that she had traveled to Bishop,                  was scheduled for a resort in
     2         California to attend a “budget                    June Lake, CA. The stop in
               retreat” organized by her                         Bishop was not for budget
     3         employer Quince and the other                     retreat purposes.
               Plaintiffs and attended by other
     4         senior staff from facilities in the               Defs’ Ex. 3, pg. 114, ¶15.
               Plum HealthCare network.                          Huver Dec., ¶20 and Ex.5, pg.
     5                                                           172.
     6   12.   In her complaint, Harris alleged            12.   Disputed. Ms. Harris’s
               that during the budget retreat,                   complaint alleged the
     7         Plaintiffs organized an off-road                  recreational Rhino ATV ride
               vehicle activity as a surprise                    occurred during free-time, was
     8         addition to the “agenda” for the                  not listed on the approved
               retreat.                                          agenda, and was not part of
     9                                                           the budget planning.
    10                                                           Defs’ Ex. 3, pg. 114, ¶16, and
    11
                                                                 pg. 115, ¶17. Huver Dec., ¶18
                                                                 and Exhibit 4, Deposition of
    12
                                                                 John Romero (“Ex. 4 Romero
                                                                 Dep”) at 56:23 - 57:12. Huver
    13                                                           Dec., ¶20 and Ex. 5, pg. 172.

    14
         13.   In her complaint, Harris alleged            13.   Undisputed except for any
    15         that, while riding in a RHINO                     inference that Harris was an
               off-road vehicle driven by                        employee within the course
    16         fellow employee Christopher                       and scope of her employment
               Romney, the vehicle rolled over                   at the time she was injured.
    17         and Harris was seriously                          Harris specifically alleged she
               injured.                                          was not in the course and
    18                                                           scope of her job duties when
                                                                 she was injured.
    19
                                                                 Defs’ Ex. 3, pg. 116, ¶22.
    20
    21   14.   In her complaint, Harris alleged            14.   Undisputed that Harris alleged
               that, Plaintiffs negligently                      that all defendants acted
    22         “organized, planned, and carried                  negligently, which included
               out” the off-road vehicle                         the Rhino owner who had no
    23         activity, and failed to adequately                relationship with the Plum
               train or warn Romney how to                       entities.
    24         operate the RHINO safely.
    25   15.   Plaintiffs reported Harris’s                15.   Undisputed.
               injury to their workers’
    26         compensation carrier, Travelers,
               on October 25, 2013.
    27
    28   ///

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     1   16.   Travelers paid Ms. Harris over            16.   Undisputed Travelers initially
               $100,000 in workers’                            paid Harris’s workers comp
     2         compensation benefits.                          claim. Disputed as to whether
                                                               Travelers was ultimately
     3                                                         responsible for paying workers
                                                               comp benefits or not.
     4
                                                               Huver Dec., ¶16 and Ex, 1,
     5                                                         Freaner Dep, at 68:25 - 69:25;
                                                               85:4-9; 91:6-9. Huver Dec.,
     6                                                         ¶17 and Ex. 2, Ringland Dep,
                                                               at 81:5-17.
     7
     8   17.   On or about November 14,                  17.   Undisputed.
               2014, Plaintiffs tendered the
     9         defense of the Harris suit to
               Homeland.
    10
    11   18.   In their tender on or about               18.   Disputed. The tender of the
    12
               November 14, 2014, Plaintiffs                   Harris complaint and other
               sent Homeland a copy of the                     documents was made by Jared
    13         complaint from Harris’s lawsuit                 Moen of Marsh Risk &
               and materials from Travelers’                   Insurance Services.
    14         workers’ compensation file.
                                                               Freanor Declaration,
    15                                                         Paragraph 4, 5, 6.

    16   19.   The Travelers file showed that            19.   Plaintiffs object to this “fact”
               Plaintiffs had submitted Harris’s               on the grounds it is vague and
    17         claim for compensation under                    ambiguous as to time.
               their workers’ compensation                     However, without waiving
    18         coverage on October 25, 2013.                   said objection, undisputed a
                                                               worker comp claim was
    19                                                         submitted, disputed as to
                                                               exactly who submitted the
    20                                                         claim.
    21   20.   The Travelers file also showed            20.   Plaintiffs’ object to the phrase
               that, by November 2014,                         “uncontroverted” as vague,
    22         Travelers had deemed the                        ambiguous and unintelligible
               worker’s compensation claim to                  in the context of this motion,
    23         be “uncontroverted” and had                     and assumes facts not in
               paid Harris benefits exceeding                  evidence. Without waiving
    24         $100,000.                                       said objections, disputed. No
                                                               evidence exists that Travelers
    25                                                         was made aware that Ms.
                                                               Harris claimed she was outside
    26                                                         the course and scope of her job
                                                               when injured. Travelers
    27                                                         accepted the claim and was not
                                                               a party to the November 2014
    28

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     1                                                          lawsuit Harris filed. Further,
                                                                there was never a final
     2                                                          determination by any workers
                                                                compensation board or
     3                                                          administrative judge
                                                                adjudicating the issue of
     4                                                          Harris’ course and scope
                                                                status. Finally, there is no
     5                                                          exclusion in The Policy which
                                                                precludes a defense if Harris
     6                                                          had a pending workers comp
                                                                claim.
     7
                                                                Huver Dec., ¶16 and Ex. 1,
     8                                                          Freaner Dep, at 74:2-11; 85:4-
                                                                9; 91:6-9; 184:18-22; 185:15-
     9                                                          25; 186:23 - 187:10. Huver
                                                                Dec., ¶17 and Ex. 2, Ringland
    10                                                          Dep, at 81:5-17; 83:15 - 84:6;
    11
                                                                120:8-11; 124:3-8.

    12   21.   Homeland called both Travelers             21.   Plaintiffs object to this “fact”
    13         (the workers’ compensation                       on the grounds it is hearsay
               carrier) and Plaintiffs’ insurance               without exception, is
    14         broker, and both confirmed that                  compound and is irrelevant to
               Harris was receiving workers’                    defendants’ duty to defend.
    15         compensation benefits for the                    However, without waiving
               accident.                                        said objections, undisputed
    16                                                          that Homeland had
                                                                information that Harris was
    17                                                          receiving workers comp
                                                                benefits. However, defendants
    18                                                          never asked Travelers whether
                                                                Harris was or was not in the
    19                                                          course and scope of her
                                                                employment and never advised
    20                                                          Travelers Harris had filed a
                                                                lawsuit alleging she was not in
    21                                                          the course and scope of
                                                                employment. Finally, there is
    22                                                          no exclusion in The Policy
                                                                which precludes a defense if
    23                                                          Harris had a pending workers
                                                                comp claim.
    24
                                                                Huver Dec., ¶16 and Ex. 1,
    25                                                          Freaner Dep, at 74:2-11; 85:4-
                                                                9; 91:6-9; 184:18-22; 185:15-
    26                                                          25; 186:23 - 187:10. Huver
                                                                Dec., ¶17 and Ex. 2, Ringland
    27                                                          Dep, at 81:5-17; 83:15 - 84:6;
                                                                120:8-11; 124:3-8.
    28

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     1   22.   On November 19, 2014,                    22.   Undisputed that defendants
               Homeland told plaintiff Plum                   denied plaintiffs a defense.
     2         and Plaintiffs’ insurance broker               Disputed that defendants’
               that it concluded the claim was                position was correct.
     3         not covered because, based on
               the workers’ compensation                      See Plum’s Separate Statement
     4         involvement, the insured vs.                   of Disputed and Undisputed
               insured exclusion applied.                     Facts (“PSSF No.__”), Nos. 4-
     5                                                        6, 8, 9-18, 22-36, 53-54, 78-
                                                              105.
     6
     7   23.   Neither Plum nor Plaintiffs’             23.   Plaintiffs object to this “fact”
               broker told Homeland that it                   as compound and vague and
     8         was mistaken about any facts or                ambiguous. Without waiving
               that it owed a defense.                        said objections, disputed.
     9                                                        Plaintiffs repeatedly advised
                                                              defendants they owed a
    10                                                        defense against the Harris
    11
                                                              lawsuit.

    12
                                                              Huver Dec., ¶16 and Ex. 1,
                                                              Freaner Dep, at 135:3-15;
    13                                                        135:25 - 137:14; 139:3 -
                                                              140:7. Defs’ Ex. 6, pgs. 153-
    14                                                        154.

    15
         24.   On December 9, 2014,                     24.   Undisputed defendants sent
    16         Homeland sent Plaintiffs a letter              the letter. Disputed the basis
               (i) explaining the basis for its               for denying plaintiffs’ claim
    17         coverage determination, (ii)                   was reasonable or proper.
               reserving its rights to rely on                Moreover, the denial letter
    18         other policy provisions, and (iii)             fully articulated defendants’
               asking Plaintiffs to “advise us of             positions as to the claim and
    19         any information that you have                  asserted only Exclusion
               that you believe may affect our                (D)(7), defendants denied any
    20         determination concerning                       coverage and consciously
               coverage available under the                   decided not to defend under a
    21         Homeland policy.”                              reservation of rights, thereby
                                                              waiving any other rights it
    22                                                        may have had.
    23                                                        Huver Dec., ¶16 and Ex. 1,
                                                              Freaner Dep, at 55:17 - 56:18;
    24                                                        58:24 - 59:12; 121:6-12;
                                                              121:21 - 122:6; 156:5-19.
    25                                                        Huver Dec., ¶17 and Ex. 2,
                                                              Ringland Dep, at 44:13-17;
    26                                                        142:24 - 143:7; 144:1-21;
                                                              178:4-24.
    27
    28   ///

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     1   25.   Homeland heard nothing further            25.   Undisputed.
               from Plaintiffs until February
     2         16, 2015, when it received a
               letter from Plum Healthcare’s
     3         president Toby Tilford.
     4   26.   Tilford’s letter did not provide          26.   Undisputed that Plum made it
               any new facts, but asserted that                clear that Harris could not be
     5         Harris’s allegation in paragraph                an “Insured” if she was
               22 that she was not in the course               outside the course and scope
     6         and scope of employment was                     of her duties, as she alleged.
               sufficient to trigger the duty to
     7         defend.                                         Defs’ Ex. 6, pgs. 153-154.
     8   27.   Homeland immediately                      27.   Disputed as to the word
               acknowledged the letter and                     “immediately.” Undisputed
     9         hired independent coverage                      that Marc Shrake acted solely
               counsel, Marc Shrake of                         for defendants’ interests as an
    10         Anderson, McPharlin &                           advocate. Moreover,
    11
               Conners, to help evaluate                       defendants are not relying on
               coverage.                                       the advice of counsel as a
    12
                                                               defense and therefore, Mr.
                                                               Shrake’s involvement is
    13                                                         irrelevant.

    14                                                         See Plaintiffs’ Objections to
                                                               Evidence, pg. 4, and Docket
    15                                                         No. 19.

    16
         28.   On March 20, 2015, Shrake sent            28.   Undisputed that Mr. Shrake
    17         a letter to Tilford responding to               sent a letter dated March 20,
               his argument based on                           2015. Disputed that it
    18         paragraph 22 and concluding                     responded to plaintiffs’
               that the complaint did not                      request to defend them against
    19         trigger a duty to defend.                       the Harris lawsuit. Disputed
                                                               that the duty to defend was not
    20                                                         triggered. Moreover,
                                                               defendants are not relying on
    21                                                         the advice of counsel as a
                                                               defense and therefore, Mr.
    22                                                         Shrake’s involvement is
                                                               irrelevant.
    23
                                                               See Plaintiffs’ Objections to
    24                                                         Evidence, pg. 4, and Docket
                                                               No. 19.
    25
    26   ///
    27   ///
    28   ///

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     1   29.   On May 11, 2015, Homeland                      29.   Undisputed a conversation
               spoke with Tilford and Paul                          took place on May 11, 2015.
     2         Hubbard – the co-CEO of Plum                         Disputed that Ringland asked
               Healthcare. Hubbard stated that                      or that Hubbard told Ringland
     3         Harris (i) was an employee at                        that Harris was an “Insured” at
               the time of the accident, (ii) was                   the time of the accident per the
     4         expected to be at the budget                         terms of The Policy, or that
               retreat as part of her                               Harris was “expected” to ride
     5         employment, and (iii) was paid                       the ATVs or shoot guns during
               for her attendance.                                  her free time. Also disputed
     6                                                              that Plum was asked if Harris
                                                                    was an “Employee” at the time
     7                                                              of the accident. Defendants
                                                                    only asked if Harris was an
     8                                                              employee but ignored the
                                                                    course and scope question they
     9                                                              now admit was critical.
    10                                                              Huver Dec., ¶16 and Ex. 1,
    11
                                                                    Freaner Dep, at 71:9-25; 72:23
                                                                    - 73:25. Huver Dec., ¶17 and
    12
                                                                    Ex. 2, Ringland Dep, at 184:25
                                                                    - 185:7; 186:8-12.
    13   30.   Homeland heard nothing further                 30.   Plaintiffs object to this “fact”
    14         from Plaintiffs until early June                     as irrelevant. Defendants
               2015, when it received a letter                      refused to defend plaintiffs
    15         from Plaintiffs’ coverage                            against the Harris lawsuit,
               counsel, William Pruitt of                           despite repeated requests.
    16         Kirkland & Ellis.                                    Plaintiffs had no duty to
                                                                    continue to request that
    17                                                              defendants comply with their
                                                                    legal and contractual
    18                                                              obligations and defend them
                                                                    against Ms. Harris’s lawsuit.
    19
         31.   On June 25, Shrake responded                   31.   Undisputed that Mr. Shrake
    20         to Pruitt’s letter stating that (i)                  sent a letter dated June 25,
               he disagreed with Pruitt’s legal                     2015. Disputed that it
    21         analysis, but (ii) Homeland was                      responded to plaintiffs’
               willing to meet with him and                         request to defend them against
    22         Plaintiffs to try to resolve the                     the Harris lawsuit. Disputed
               dispute.                                             that the duty to defend was not
    23                                                              triggered. Moreover,
                                                                    defendants are not relying on
    24                                                              the advice of counsel as a
                                                                    defense and therefore, Mr.
    25                                                              Shrake’s involvement is
                                                                    irrelevant.
    26
                                                                    See Plaintiffs’ Objections to
    27                                                              Evidence, pg. 4, , and Docket
                                                                    No. 19.
    28

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     1   32.   On July 21, 2015, the parties              32.   Undisputed that defendants
               met as Shrake had proposed.                      persisted in refusing to defend
     2         The parties, however, were                       plaintiffs.
               unable to reach agreement as to
     3         the duty to defend.
     4   33.   On August 4, 2015, Shrake sent             33.   Plaintiffs object to this “fact”
               a letter to Pruitt pointing out                  on the grounds it calls for
     5         cases that he felt supported the                 speculation as to the state of
               conclusion that Homeland owed                    mind of Shrake. However,
     6         no duty to defend.                               without waiving said
                                                                objection, undisputed that
     7                                                          Shrake sent the letter relying
                                                                on inapposite cases to support
     8                                                          defendants’ wrongful denial of
                                                                plaintiffs’ claim and that Mr.
     9                                                          Shrake refused to concede
                                                                what Homeland “admits” it
    10                                                          always knew: that if Harris’s
    11
                                                                allegations were correct, she
                                                                would not be an “Insured” and
    12
                                                                she could therefore recover
                                                                damages; that Homeland knew
    13                                                          Harris’s allegations were
                                                                disputed, unproven and
    14                                                          inconclusive either way.
                                                                Moreover, defendants are not
    15                                                          relying on the advice of
                                                                counsel as a defense and
    16                                                          therefore, Mr. Shrake’s
                                                                involvement is irrelevant.
    17
                                                                Huver Dec., ¶16 and Ex. 1,
    18                                                          Freaner Dep, at 68:25 - 69:25;
                                                                85:4-9; 96:18 - 97:13; 101:14-
    19                                                          25; 103:8-14; 106:10-24;
                                                                109:5-10. Huver Dec., ¶17 and
    20                                                          Ex. 2, Ringland Dep, at 96:1 -
                                                                98:9; 101:12 - 102:8; 106:12 -
    21                                                          107:9; 109:7 - 110:1; 126:14-
                                                                25; 130:2-9; 182:7 - 183:2.
    22                                                          See also Plaintiffs’ Objections
                                                                to Evidence, pg. 4, and Docket
    23                                                          No. 19.
    24   34.   Plaintiffs admit that Homeland             34.   Plaintiffs object to this “fact”
               was “professional” and                           on the grounds it is misleading
    25         “respectful” throughout the                      and irrelevant.
               claim handling process.
    26
    27   ///
    28   ///

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     1   35.   In the litigation with Harris,               35.   Plaintiffs object to these
               Plaintiffs admitted in discovery                   “facts” on the grounds they are
     2         responses that “Harris was on a                    irrelevant to the issue of the
               work-related event at all times                    duty to defend, which is based
     3         relevant to the subject                            on the information defendants
               litigation” and that her injuries                  knew at the time of the denial.
     4         “arose out of and in the course                    Defendants never knew or
               of her employment.”                                relied on events that occurred
     5                                                            during the litigation, which
                                                                  was long after they denied
     6                                                            Plaintiffs’ claim. See North
                                                                  Counties Engineering v. State
     7                                                            Farm (2014) 224 Cal.App.4th
                                                                  902, 909. Further, plaintiffs
     8                                                            object to the word “admitted”
                                                                  on the grounds it is
     9                                                            argumentative. Without
                                                                  waiving said objections, is it
    10                                                            undisputed that after
    11
                                                                  defendants refused to defend
                                                                  Plum against the Harris
    12
                                                                  lawsuit, Plum asserted as one
                                                                  of several affirmative defenses
    13                                                            that Ms. Harris’s exclusive
                                                                  remedy was workers
    14                                                            compensation, which she
                                                                  disputed. The affirmative
    15                                                            defenses raised by plaintiffs
                                                                  after being denied a defense of
    16                                                            the Harris lawsuit are not
                                                                  conclusive proof.
    17
         36.   The budget retreats, like the one            36.   Plaintiffs object to this “fact”
    18         at which Harris was injured,                       on the grounds it is vague,
               were an annual event.                              ambiguous and irrelevant. As
    19                                                            the incident occurred during
                                                                  Harris’s first “budget retreat,”
    20                                                            what did or did not happen at
                                                                  any prior “annual budget
    21                                                            retreat” is irrelevant. FRE
                                                                  402, 403. However, without
    22                                                            waiving said objections,
                                                                  disputed. Harris’s complaint
    23                                                            alleged the afternoon was for
                                                                  free-time, did not involve
    24                                                            budget-related work, the
                                                                  retreat was scheduled for a
    25                                                            resort in June Lake, CA, not
                                                                  Bishop, and the Rhino ATV
    26                                                            riding was not part of her job
                                                                  duties and responsibilities.
    27
                                                                  PSSF Nos. 55, 57, 61.
    28

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     1   37.   The retreats were mandatory for           37.   Plaintiffs object to this “fact”
               invitees, including Harris.                     on the grounds the word
     2                                                         “mandatory” is vague and
                                                               ambiguous, and on the ground
     3                                                         the “fact” as phrased is
                                                               misleading. Moreover,
     4                                                         reference to any prior “annual
                                                               budget retreat” is inadmissible
     5                                                         evidence. FRE 402, 403.
                                                               Without waiving said
     6                                                         objections, undisputed that
                                                               attendance at budget meetings
     7                                                         was required. Disputed that
                                                               recreational activities were
     8                                                         required.
     9                                                         Huver Dec., ¶18 and Ex. 3,
                                                               Romero Dep, at 34:21 - 35:4;
    10                                                         39:17-25; 45:19- 46:8; 56:23 -
    11
                                                               57:12; 73:24 - 74:12; 74:13-
                                                               19; 109:6-25.
    12   38.   The purpose of the retreat at             38.   Undisputed that was Mr.
    13         which Harris was injured was to                 Romney testified to in
               present each facility’s budget, to              deposition. Also undisputed
    14         participate in teambuilding, to                 the purpose of the retreat was
               collaborate with peers, and                     to work on budgeting, not to
    15         receive training and education.                 ride ATVs or shoot guns.

    16                                                         Huver Dec., ¶18 and Ex. 3,
                                                               Romero Dep, at 34:21 - 35:4;
    17                                                         35:5-10; 39:17-25; 45:19-
                                                               46:8; 56:23 - 57:12; 73:24 -
    18                                                         74:12; 74:13-19; 109:6-25.
    19   39.   The RHINO activity was part of            39.   Disputed. Harris alleged the
               the teambuilding agenda.                        Rhino ATV activity was not
    20                                                         part of her job duties or
                                                               responsibilities as DON. The
    21                                                         ATV riding was a last-minute,
                                                               surprise change made by Craig
    22                                                         Clayton without permission
                                                               and was not part of the
    23                                                         planned agenda. The budget
                                                               retreat was scheduled for June
    24                                                         Lake, CA, not Bishop, CA.
                                                               Undisputed riding ATVs was
    25                                                         not within Harris’s job duties
                                                               and responsibilities as DON.
    26                                                         This issue remained in dispute
                                                               during and was never resolved
    27                                                         in the Harris litigation.
    28

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     1                                                           Defs’ Ex. 3, pg. 114, ¶15-16,
                                                                 pg. 115, ¶17, pg. 116, ¶22.
     2                                                           Huver Dec., ¶17 and Ex. 2,
                                                                 Ringland Dep, at 101:12 -
     3                                                           102:8; 184:25 - 185:7; 186:8-
                                                                 12. Huver Dec., ¶18 and Ex.
     4                                                           3, Romero Dep, at 45:19 -
                                                                 46:8; 56:23 - 57:12; 73:24 -
     5                                                           74:12; 74:13-19; 109:6-25.
     6   40.   Upon being informed of the                  40.   Plaintiffs object to this “fact”
               RHINO activity, Harris said she                   on the grounds the evidentiary
     7         did not want to participate in it,                support is hearsay without
               but she felt compelled to do so.                  exception. FRE 802, 803,
     8                                                           804.
     9   41.   The Industrial Commission of                41.   Plaintiffs object to this alleged
               Arizona twice made findings                       “fact” on the grounds it is
    10         that Harris “sustained a                          irrelevant to the duty to defend
    11
               compensable injury by accident                    issue. The documents are
               arising out of and in the course                  dated April 21, 2015, 5
    12
               of employment on 10/22/2013.”                     months after Homeland’s
                                                                 initial denial. Therefore, these
    13                                                           were not “known” by or relied
                                                                 on by Homeland before they
    14                                                           denied coverage. Homeland
                                                                 admitted it only relied on 5
    15                                                           pieces of paper from a
                                                                 Travelers’ workers comp file
    16                                                           as the basis for its denial.

    17                                                           Moreover, there were no legal
                                                                 “findings” and no adjudication
    18                                                           by any workers compensation
                                                                 court as to Harris’s course and
    19                                                           scope status. Plaintiffs further
                                                                 object to the term “findings”
    20                                                           as lacking foundation,
                                                                 assuming facts not in
    21                                                           evidence, and hearsay on the
                                                                 subject of determining the
    22                                                           legal question of whether
                                                                 Harris was an “Insured” under
    23                                                           defendants’ policy. FRE 602,
                                                                 701, 702, 802, 803, 804.
    24                                                           Without waiving said
                                                                 objections, disputed.
    25                                                           Defendants admit there was no
                                                                 evidence in the 5 pieces of
    26                                                           paper from Travelers at the
                                                                 time the claim was denied
    27                                                           which conclusively
                                                                 determined Harris’s status re
    28                                                           course and scope.

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     1                                                            Huver Dec., ¶16 and Ex. 1,
                                                                  Freaner Dep, at 68:25 - 69:25;
     2                                                            85:4-9; 86:20 - 87:9; 91:6-9;
                                                                  96:18 - 97:13; 101:14-25;
     3                                                            103:8-14; 106:10-24; 109:5-
                                                                  10; 181:22 - 182:1; 184:4-17;
     4                                                            184:18-22; 185:15-25; 186:23
                                                                  - 187:10. Huver Dec., ¶17 and
     5                                                            Ex. 2, Ringland Dep, at 81:5-
                                                                  17; 94:5-18.
     6
     7   42.   In November 2015, Plaintiffs                 42.   Undisputed that after
               and Harris settled for $775,000                    defendants refused to defend
     8         plus an agreement by Plaintiffs                    or indemnify Plum, they
               to pay a portion of the workers’                   reached a settlement to avoid
     9         compensation insurer’s liens.                      potential liability in excess of
                                                                  $4,000,000, potential exposure
    10                                                            on multiple cross-complaints,
    11
                                                                  and additional legal expenses
                                                                  of at least $200,000.
    12                                                            Declaration of William Wilson
    13                                                            (“Wilson Dec., ¶__,”), ¶4-9.

    14
         43.   Plaintiffs moved for a                       43.   Undisputed.
    15         determination of good faith
               settlement.
    16
         44.   In moving for a good faith                   44.   Undisputed Plum referenced
    17         determination, Plaintiffs argued                   various affirmative defenses
               that the settlement as within the                  raised in the Harris lawsuit in
    18         Tech-Bilt “ballpark” because (i)                   support of their motion for a
               Harris was an employee, (ii) the                   good faith settlement. Also
    19         injury occurred during a                           undisputed the settlement was
               “corporate team building                           reached to avoid potential
    20         activity” during an “organized                     exposure in excess of
               budget retreat,” and (iii)                         $4,000,000, potential exposure
    21         therefore, workers’                                on multiple cross-complaints,
               compensation was Harris’                           and additional legal expenses
    22         exclusive remedy.                                  of at least $200,000. Disputed
                                                                  that the affirmative defenses
    23                                                            somehow equate to conclusive
                                                                  proof of any issue.
    24
                                                                  Wilson Dec., ¶4-9.
    25
    26   45.   The superior court granted                   45.   Undisputed.
               Plaintiffs’ motion for a good
    27         faith settlement determination.
    28

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     1   46.   In total, Plaintiffs’ defense costs        46.   Undisputed that plaintiffs
               during the entirety of the Harris                incurred $112,500 in legal
     2         litigation were only about                       expenses and $825,000 in
               $112,500.                                        losses related to the settlement
     3                                                          with Ms. Harris and Travelers,
                                                                for total damages under The
     4                                                          Policy of $937,500, plus
                                                                interest.
     5
     6
     7         Pursuant to Local Rule 7.1(f)(3), Plum submits the following statement of
     8   disputed and undisputed material facts in opposition to Homeland’s motion for
     9   summary judgment or partial summary judgment.
    10   DISPUTED/UNDISPUTED FACTS AND EVIDENCE IN OPPOSITION
    11
              TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

    12   ISSUE:      HOMELAND HAS ADMITTED THE FOLLOWING FACTS
    13               BY VIRTUE OF FAILING TO TIMELY RESPOND TO
                     PLUM’S REQUESTS FOR ADMISSION
    14
         Plaintiffs’ Disputed/Undisputed                  Defendants’ Response and
    15   Material Facts and Supporting                    Supporting Evidence:
         Evidence:
    16
         1.    Janice Harris’ injury on                   1.
    17         October 22, 2013 involved a
               “non-owned” vehicle.
    18
               Huver Dec., ¶12 and Ex. 10,
    19         pg. 187, RFA No. 1.
    20   2.    Exclusion (B)(9) did not                   2.
               preclude coverage for the
    21         claim made by Janice Harris
               against your insureds.
    22
               Huver Dec., ¶12 and Ex. 10,
    23         pg. 187, RFA No. 2.
    24   3.    Homeland was not aware of                  3.
               any available automobile
    25         coverage for GI Plum for the
               claims made by Janice Harris.
    26
               Huver Dec., ¶12 and Ex. 10,
    27         pg. 187, RFA No. 3.
    28

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     1   4.    Janice Harris’ complaint                   4.
               alleged that she was not in the
     2         course and scope of her job at
               the time she was injured on
     3         October 22, 2013.
     4         Huver Dec., ¶12 and Ex. 10,
               pg. 187, RFA No. 4.
     5
     6   5.    If the allegations in paragraph            5.
               22 of Janice Harris’ complaint
     7         were true, she would not have
               been an “insured” at the time
     8         of her injury on October 22,
               2013.
     9
               Huver Dec., ¶12 and Ex. 10,
    10         pg. 187, RFA No. 5.
    11   6.    No judge or jury had ever                  6.
    12
               determined if Janice Harris
               was or was not in the course
    13         and scope of her job duties
               when she was injured on
    14         October 22, 2013.

    15         Huver Dec., ¶12 and Ex. 10,
               pg. 187, RFA No. 6.
    16
         7.    Homeland Insurance is a                    7.
    17         wholly owned subsidiary of
               One Beacon Professional
    18         Insurance Company.
    19         Huver Dec., ¶12 and Ex. 10,
               pg. 187, RFA No. 7.
    20
         8.    Homeland should have                       8.
    21         provided a legal defense to
               plaintiffs Plum Healthcare and
    22         GI Plum Holdco in the Janice
               Harris lawsuit.
    23
               Huver Dec., ¶12 and Ex. 10,
    24         pg. 187, RFA No. 8.
    25   ///
    26   ///
    27   ///
    28   ///

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     1   ISSUE:      THE FACTUAL ALLEGATIONS IN HARRIS’S LAWSUIT
                     ALLEGED A COVERED CLAIM THAT TRIGGERED
     2               HOMELAND’S DUTY TO DEFEND
     3   Plaintiffs’ Disputed/Undisputed                   Defendants’ Response and
         Material Facts and Supporting                     Supporting Evidence:
     4   Evidence:
     5   9.    The Policy required Homeland                9.
               to defend Plum against the
     6         Harris lawsuit.
     7         Defs’ Ex. 1, pgs. 11, 43-44, 46-
               48, 51-52, 63. See also Defs’
     8         Separate Statement of Facts
               (“DSSF”), Nos. 1, 2, 4, 5.
     9
    10   10.   Plaintiffs herein were Insureds             10.
    11
               under the terms of The Policy
               when the Harris lawsuit was
    12
               tendered for a defense.

    13         Docket No. 10, Defs’ Answer to
               Complaint, pg. 3, ¶¶ 8, 9, 10,
    14         11. See also DSSF Nos. 1, 2, 4,
               5.
    15
         11.   Paragraph 14 of Harris’s                    11.
    16         complaint contained the
               following specific factual
    17         allegation:
    18         On October 22, 2013, at
               approximately 5:00 p.m.,
    19         Plaintiff JAN HARRIS was
               severely injured while riding as
    20         a passenger in a modified
               Yamaha Rhino side-by-side off-
    21         road vehicle (hereinafter the
               “SUBJECT RHINO”)
    22         negligently, wantonly and
               recklessly operated by
    23         Defendant CHRISTOPHER
               ROMNEY.
    24
               Defs’ Ex. 1, pg. 114, ¶14.
    25
    26   ///
    27   ///
    28   ///

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     1   12.   Paragraph 15 of Harris’s                    12.
               complaint contained the
     2         following specific factual
               allegations:
     3
               Plaintiff had (sic) travelled to
     4         Bishop, California for the
               purpose of attending a budget
     5         retreat organized and arranged
               by PLUM HEALTHCARE
     6         ENTITIES and Defendants
               ROMNEY, QUINCE,
     7         CLAYTON, CLAWSON and
               the BISHOP CARE CENTER.
     8         The location of the planned
               retreat was at a resort hotel in
     9         June Lake, California. ...
    10         Defs’ Ex. 1, ¶15, pg. 114.
    11   13.   Paragraph 16 of Harris’s                    13.
    12
               complaint contained the
               following factual allegations:
    13         “Plaintiff arrived in Bishop,
    14         California on the afternoon of
               October 22, 2013, where she
    15         met with the other individuals
               [sic] travelling to the retreat.
    16         After eating a box lunch at
               Defendants LAWS RAILROAD
    17         MUSEUM, all present,
               including Plaintiff, were
    18         supposed to have the afternoon
               free to shop at stores along
    19         Main Street in Bishop. The
               agenda for the retreat, which
    20         was circulated to attendees
               beforehand, planned for
    21         “shopping along Bishop’s Main
               Street,” prior to departing for
    22         June Lake. ...for the retreat.”
    23         Defs’ Ex. 3, pg. 114-115, ¶16.
    24   14.   Paragraph 17 of Harris’s                    14.
               complaint contained the
    25         following specific factual
               allegations:
    26
               “However, after eating lunch at
    27         the LAWS RAILROAD
               MUSEUM, it was announced to
    28

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     1         Plaintiff and the other attendees
               that a surprise change had been
     2         made to the agenda. Plaintiff
               and the other attendees were
     3         driven in vans a short distance
               to an outdoor location, where a
     4         shooting range and several
               Yamaha Rhino side-by-side off-
     5         road vehicles were parked. ...
               Plaintiff and others were told
     6         not to speak with anyone about
               this surprise change in the
     7         agenda, because permission had
               not been obtained to engage in
     8         the shooting and off-road
               activities. ...”
     9
               Defs’ Ex. 3, pg. 115, ¶17.
    10
    11   15.   Paragraph 22 of Harris’s                     15.
    12
               complaint contained the
               following specific factual
    13         allegation:

    14         “These events and Plaintiff’s
               severe injuries occurred outside
    15         the scope of her employment as
               QUINCE’s director of nursing.
    16         The Rhino and shooting
               activities that occurred on
    17         October 22, 2013 were
               unplanned and unrelated to
    18         Plaintiff’s work duties as
               Director of Nursing, but rather
    19         involved participation in an off-
               duty event negligently
    20         organized, planned and carried
               out by Defendants.”
    21
               Defs’ Ex. 3, pg. 116, ¶22.
    22
         16.   The specific factual allegations             16.
    23         in Harris’ complaint, including
               paragraphs 14, 15, 16, 17 and
    24         22, if proven true, asserted at
               least a potentially covered claim
    25         and therefore triggered
               Homeland’s duty to defend
    26         Plum.
    27         Defs’ Ex. 1, pgs. 11, 43-44, 46-
               48, 51-52, 63. Huver Dec., ¶16
    28         and Ex. 1, Freaner Dep, at 62:16

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     1         - 63:4; 78:25 - 77:23; 95:23 -
               96:5; 116:10-14; 149:23 -
     2         150:5. Huver Dec., ¶17 and Ex.
               2, Ringland Dep, at 29:11-19;
     3         154:23 - 155:19.
     4   17.   Homeland did not know if                    17.
               Harris’s allegations in
     5         paragraphs 14, 15, 16, 17 and 22
               were true or false when they
     6         denied Plum a defense.
     7         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 80:20 - 81:19;
     8         95:23 - 96:5; 116:10-14; 149:23
               - 150:5. Huver Dec., ¶17 and
     9         Ex. 2, Ringland Dep, at 96:1 -
               98:9; 101:12 - 102:8; 106:12 -
    10         107:9; 109:7 - 110:1; 126:14-
    11
               25; 130:2-9.

    12   18.   Harris’s complaint alleging                 18.
    13         bodily injuries based on claims
               of negligence against Plum and
    14         others was a covered claim.

    15         Huver Dec., ¶17 and Ex. 2,
               Ringland Dep, at 154:23 -
    16         155:19.

    17
         19.   Plum Healthcare Group, LLC,                 19.
    18         incurred $112,500 in attorneys
               fees and costs to defend against
    19         the Harris v. Plum Healthcare
               Group, LLC, et al., lawsuit.
    20
               Wilson Dec., ¶10, and Ex. 6,
    21         pgs. 6-62.
    22
         20.   The Policy’s $250,000                       20.
    23         deductible applied to the
               combined legal defense
    24         expenses of $112,500, and the
               $825,000 settlement under the
    25         indemnity coverage for
               “Losses.”
    26
               Defs’ Ex. 1, Section
    27         IV(A)(7)(a), pgs. 64-65.
    28   ///

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     1   21.   Homeland’s obligation to                   21.
               indemnify a “Loss” is in excess
     2         of $250,000, but the duty to
               defend is triggered immediately
     3         upon tender of a claim or a
               potentially covered claim.
     4
               Defs’ Ex. 1, Section I(F), pg. 44
     5         and Section IV(A)(7)(a), pgs.
               64-65.
     6
     7   ISSUE:      THE 5 PIECES OF PAPER FROM TRAVELERS’ WORKERS
                     COMPENSATION FILE DID NOT CONCLUSIVELY
     8               ESTABLISH HARRIS WAS IN THE COURSE AND SCOPE
                     OF HER JOB DUTIES WHEN INJURED
     9
    10   Plaintiffs’ Disputed/Undisputed                  Defendants’ Response and
    11
         Material Facts and Supporting                    Supporting Evidence:
         Evidence:
    12   22.   The only “extrinsic”                       22.
    13         documents Homeland relied
               on to deny Plum a defense
    14         were the 5 pieces of paper
               from Travelers’ file which
    15         merely showed Harris had
               received some benefits from
    16         an open workers comp claim.

    17         Huver Dec., ¶16 and Ex. 1,
               Freaner Dec, at 86:20 - 87:9;
    18         181:22 - 182:1; 184:4-17.
               Huver Dec., ¶17 and Ex. 2,
    19         Ringland Dep, at 94:5-18.
    20   23.   When Homeland denied Plum                  23.
               a defense, they knew Harris
    21         had not hired an attorney to
               represent her for her workers
    22         comp claim.
    23         Huver Dec., ¶17 and Ex. 2,
               Ringland Dep, at 91:14 -
    24         92:13.
    25   24.   The 5 pieces of paper from                 24.
               Travelers’ workers comp file
    26         did not conclusively negate
               the possibility that Harris’s
    27         complaint alleged a potentially
               covered claim.
    28

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     1         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 85:4-9; 91:6-
     2         9; 184:18-22; 185:15-25;
               186:23 - 187:10. Huver Dec.,
     3         ¶17 and Ex. 2, Ringland Dep,
               at 81:5-17; 94:5-18.
     4
     5   25.   None of the 5 pieces of paper              25.
               from Travelers’ workers comp
     6         file indicated a legal
               adjudication had been made
     7         that Harris was in the course
               and scope of her job duties
     8         when she was injured.
     9         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 184:18-22;
    10         185:15-25; 186:23 - 187:10.
    11
               Huver Dec., ¶17 and Ex. 2,
               Ringland Dep, at 81:5-17;
    12
               94:5-18.

    13   26.   Homeland did not have any                  26.
    14         information that a formal
               determination had been made
    15         by any workers comp judge or
               appeals board that Harris was
    16         in the course and scope of her
               job duties when they denied
    17         Plum’s claim for a defense.
    18         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 68:25 - 69:25;
    19         85:4-9; 91:6-9; 184:18-22;
               185:15-25; 186:23 - 187:10.
    20         Huver Dec., ¶17 and Ex. 2,
               Ringland Dep, at 81:5-17.
    21
    22   27.   Homeland never informed                    27.
               Travelers that Harris had filed
    23         a civil lawsuit alleging she
               was not within the course and
    24         scope of her job duties.
    25         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 74:2-11.
    26         Huver Dec., ¶17 and Ex. 2,
               Ringland Dep, at 83:15 - 84:6.
    27
    28   ///

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     1   28.   There is no exclusion in The               28.
               Policy which negates coverage
     2         just because Harris was
               pursuing both a workers comp
     3         claim and a civil lawsuit.
     4         Huver Dec., ¶17 and Ex. 2,
               Ringland Dep, at 120:8-11;
     5         124:3-8.
     6
     7   ISSUE:      HOMELAND DID NOT CONCLUSIVELY ESTABLISH THE
                     “INSURED V. INSURED” EXCLUSION (D)(7) NEGATED
     8               COVERAGE. HARRIS’S COURSE AND SCOPE ISSUE WAS
                     IN DISPUTE WHEN HOMELAND REFUSED TO DEFEND
     9               PLUM
    10   Plaintiffs’ Disputed/Undisputed                  Defendants’ Response and
    11
         Material Facts and Supporting                    Supporting Evidence:
         Evidence:
    12   29.   The only policy exclusion                  29.
    13         Homeland relied on to deny
               Plum a defense was the
    14         “Insured v. Insured”
               Exclusion (D)(7).
    15
               Huver Dec., ¶16 and Ex. 1,
    16         Freaner Dep, at 121:6-12;
               121:21 - 122:6; 137:15 -
    17         138:11. Huver Dec., ¶17 and
               Ex. 2, Ringland Dep, at 142:24
    18         - 143:7; 144:1-21; 178:2-24.
               Defs’ Ex. 5, pgs. 147-151.
    19
    20   30.   Homeland knew Exclusion                    30.
               (D)(7) would only apply if
    21         Harris was an “Insured” as
               defined by The Policy,
    22         requiring that she was both (1)
               an “Employee” and (2) “only
    23         when such Employee ... is
               acting within the capacity
    24         and scope of his or her duties
               as such;...”
    25
               Defs’ Ex. 1, Section II,
    26         Definitions (T)(2), pgs. 47-48.
               (Emphasis added.) Huver
    27         Dec., ¶16 and Ex. 1, Freaner
               Dep, at 78:6-15; 94:25 -
    28         95:22; 95:23 - 96:5; 113:15 -

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     1         114:4; 116:10-14; 123:6-19;
               124:9-20; 126:2-9; 149:23 -
     2         150:5. Huver Dec., ¶17 and
               Ex. 2, Ringland Dep, at 103:8-
     3         23; 104:11-15; 105:21 - 106:4.
     4   31.   Homeland knew if Harris’s                 31.
               allegations in her complaint,
     5         including paragraphs 14, 15,
               16, 17 and 22, were true,
     6         Harris would not be an
               “Insured” under the terms of
     7         the Policy and the “Insured v.
               Insured” Exclusion (D)(7)
     8         would not negate coverage.
     9         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 78:6-15; 94:25
    10         - 95:22; 95:23 - 96:5; 116:10-
    11
               14; 123:6-19; 124:9-20;
               126:2-9; 149:23 - 150:5.
    12
               Huver Dec., ¶17 and Ex. 2,
               Ringland Dep, at 103:9-23;
    13         104:11-15; 105:21 - 106:4.

    14
         32.   Homeland knew Exclusion                   32.
    15         (D)(7) did not apply just
               because Harris was receiving
    16         workers comp benefits.

    17         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 123:6-19;
    18         124:9-20; 126:2-9. Huver
               Dec., ¶17 and Ex. 2, Ringland
    19         Dep, at 120:8-11; 124:3-8.
    20
         33.   The only documents which                  33.
    21         Homeland relied on for
               asserting the “Insured v.
    22         Insured” Exclusion (D)(7)
               were the 5 pieces of paper
    23         from Travelers’ workers
               compensation files.
    24
               Huver Dec., ¶16 and Ex. 1,
    25         Freaner Dep, at 86:20 - 87:9;
               181:22 - 182:1; 184:4-17.
    26
    27   ///
    28   ///

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     1   34.   Homeland based its entire                  34.
               decision to deny Plum a
     2         defense on the 5 pieces of
               paper from the Travelers file.
     3
               Huver Dec., ¶16 and Ex. 1,
     4         Freaner Dep, at 86:20 - 87:9;
               181:22 - 182:1; 184:4-17.
     5
     6   35.   No judge or jury had decided               35.
               that Harris was in the course
     7         and scope of her job duties and
               responsibilities when she was
     8         injured when Homeland
               denied Plum’s claim.
     9
               Huver Dec., ¶16 and Ex. 1,
    10         Freaner Dec, at 68:25 - 69:25;
    11
               85:4-9; 96:18 - 97:13; 101:14-
               25; 103:8-14; 106:10-24;
    12
               109:5-10. Huver Dec., ¶17 and
               Ex. 2, Ringland Dep, at 81:5-
    13         17; 182:7 - 183:2.

    14
         36.   At the time Homeland denied                36.
    15         Plum’s claim for a defense,
               Homeland had not
    16         “conclusively established” that
               Exclusion (D)(7) precluded
    17         coverage for the claim.
    18         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 68:25 - 69:25;
    19         78:6-15; 80:20 - 81:19; 94:25
               - 95:22; 95:23 - 96:5; 96:18 -
    20         97:13; 101:14-25; 103:8-14;
               106:10-24; 109:5-10; 116:10-
    21         14; 149:23 - 150:5. Huver
               Dec., ¶17 and Ex. 2, Ringland
    22         Dep, at 81:5-17; 103:8-23;
               104:11-15; 105:21 - 106:4;
    23         112:4-14; 182:7-19.
    24   ///
    25   ///
    26   ///
    27   ///
    28   ///

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     1   ISSUE:      IF HOMELAND IS PERMITTED TO ASSERT NEW
                     COVERAGE DEFENSES, HOMELAND HAS FAILED TO
     2               CONCLUSIVELY ESTABLISH EITHER EXCLUSION (D)(2)
                     OR (D)(5) NEGATED HOMELAND’S DUTY TO DEFEND
     3
     4   Plaintiffs’ Disputed/Undisputed                 Defendants’ Response and
         Material Facts and Supporting                   Supporting Evidence:
     5   Evidence:
     6   37.   Homeland contends Exclusion               37.
               (D)(2) precludes coverage
     7         solely because “notice” of
               Harris’s workers comp “claim”
     8         was provided to Plum’s
               workers comp insurer
     9         Travelers.
    10         Defs’ Motion, pg. 11.
    11   38.   The Policy does not provide               38.
    12
               coverage for workers
               compensation claims.
    13         Defs’ Ex. 1.
    14
         39.   Exclusion (D)(2) does not                 39.
    15         apply because “notice” of a
               workers compensation claim
    16         has no bearing on The Policy’s
               coverage.
    17
               Defs’ Ex. 1.
    18
         40.   Exclusion (D)(2) provides in              40.
    19         relevant part:
    20         “Except as otherwise expressly
               provided in this Policy, this
    21         Policy does not apply to, and
               the Underwriter will not pay
    22         Loss or Defense Expenses, for
               any Claim based upon, arising
    23         out of, directly or indirectly
               resulting from, in consequence
    24         of, or in any way involving
               any actual or alleged:
    25
         ***
    26         (2) act, error, omission.
               Occurrence, Wrongful Act,
    27         event, suit or demand which
               was the subject of any notice
    28         given under any other policy

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     1         of insurance or plan or
               program of self-insurance in
     2         effect prior to the Inception
               Date set forth in ITEM 2 of the
     3         Declarations.”
     4         Defs’ Ex. 1, pg. 61.
     5   41.   “Claim” is defined as “any                 41.
               written notice received by an
     6         Insured that any person or
               entity intends to hold an
     7         Insured responsible for a
               Wrongful Act or an
     8         Occurrence.”
     9         Defs’ Ex. 1, pg. 46.
    10   42.   “Occurrence” is defined as:                42.
    11
               “(1) with respect to Bodily
               Injury or Property Damage,
    12
               an accident, including
               continuous or repeated
    13         exposure to substantially the
               same harmful conditions,
    14         which results in injury or
               damage neither expected nor
    15         intended by the Insured; and

    16         (2) with respect to Advertising
               Injury or Personal Injury, a
    17         covered offense as set forth in
               DEFINITIONS (C) or
    18         DEFINITIONS (FF) of this
               Policy.”
    19
               Defs’ Ex. 1, pg. 51.
    20
    21   43.   “Wrongful Act,” is defined as              43.
               “any Professional Services
    22         Wrongful Act or Employee
               Benefit Wrongful Act,”
    23         neither of which involve a
               claim for workers
    24         compensation benefits or
               Harris’s lawsuit for bodily
    25         injuries.
    26         Defs’ Ex. 1, pgs. 47, 53-55.
    27   ///
    28   ///

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     1   44.   Harris’s workers                            44.
               compensation claim did not
     2         involve allegations that Plum
               was liable for either an
     3         Occurrence or a Wrongful
               Act as defined by The Policy.
     4
               Defs’ Ex. 1, pg. 46, 47, 51, 53-
     5         55.
     6   45.   Exclusion (D)(2) does not                   45.
               apply because the first
     7         “written notice” Plum received
               regarding Harris’s bodily
     8         injury lawsuit was when they
               were served with Harris’s
     9         complaint shortly before
               tendering the claim for a
    10         defense to Homeland.
    11         Defs’ Ex. 3, pgs. 106-130.
    12
               Freaner Dec., ¶4, 5 and Exs. 2
               and 3 thereto.
    13   46.   The first insurer Plum                      46.
    14         provided “notice” to of
               Harris’s bodily injury lawsuit
    15         was Homeland.

    16         Freaner Dec., ¶4, 5 and Exs. 2
               and 3 thereto.
    17
    18   47.   The defined terms “Claim,”                  47.
               “Occurrence” and “Wrongful
    19         Act” do not pertain to or
               involve Harris’s claim for
    20         workers compensation
               benefits.
    21
               Defs’ Ex. 1, pgs. 46, 51, 61.
    22
         48.   Exclusion (D)(2) does not                   48.
    23         apply by its own terms
               because Harris’s lawsuit
    24         sought damages for bodily
               injuries, not workers
    25         compensation benefits.
    26         Defs’ Ex. 1, pgs. 46, 51, 61.
    27   ///
    28   ///

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     1   49.   Harris’s lawsuit for bodily                49.
               injuries did not involve a
     2         claim for a “Professional
               Services Wrongful Act” or an
     3         “Employee Benefit Wrongful
               Act” as those terms are
     4         defined in The Policy.
     5         Defs’ Ex. 1, pgs. 47, 53-55.
               Defs’ Ex. 3, ¶21, pg. 116; ¶29,
     6         pg. 118; and ¶31, pg. 119.
     7   50.   When Homeland denied                       50.
               Plum’s claim, even though
     8         claims adjuster Freaner and
               claims manager Ringland
     9         discussed Exclusion (D)(5),
               the only exclusion they agreed
    10         might apply was the “Insured
    11
               v. Insured” Exclusion (D)(7).

    12
               Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 55:17 - 56:18;
    13         58:24 - 59:12 121:6-12;
               121:21 - 122:6; 137:15 -
    14         138:11. Huver Dec., ¶17 and
               Ex. 2, Ringland Dep, at 142:24
    15         - 143:7; 144:1-21. Defs’ Ex.
               5, pgs. 147-151.
    16
         51.   By its specific terms, the                 51.
    17         “Workers Compensation”
               Exclusion (D)(5) does not
    18         apply to this claim because
               Harris’s lawsuit sought
    19         damages for bodily injuries,
               not benefits for a workers
    20         compensation claim.
    21         Defs’ Ex. 1, pgs. 46, 51, 61.
               Defs’ Ex. 3, pgs. 106-130.
    22
    23   ///
    24   ///
    25   ///
    26   ///
    27   ///
    28   ///

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     1   ISSUE:      IF HOMELAND IS PERMITTED TO LITIGATE THE ISSUE
                     OF HARRIS’S COURSE AND SCOPE FOR PURPOSES OF
     2               DETERMINING ITS DUTY TO INDEMNITY PLUM,
                     HOMELAND HAS FAILED TO MEET THEIR BURDEN OF
     3               CONCLUSIVELY ESTABLISHING THAT ANY POLICY
                     EXCLUSION PRECLUDED COVERAGE. THEREFORE,
     4               HOMELAND IS REQUIRED TO INDEMNIFY PLUM FOR
                     THE FULL AMOUNT OF THE HARRIS SETTLEMENT
     5
     6   Plaintiffs’ Disputed/Undisputed                 Defendants’ Response and
         Material Facts and Supporting                   Supporting Evidence:
     7   Evidence:
     8   52.   Plum refers to and                        52.
               incorporates herein by
     9         reference PSSF Nos. 1-51 and
               all supporting evidence.
    10
    11   53.   No court has ever ruled as a              53.
    12
               matter of law that Janice
               Harris was acting within the
    13         course and scope of her job
               duties and responsibilities as
    14         DON for Pueblo Springs when
               she was injured.
    15
               Huver Dec., ¶16 and Ex. 1,
    16         Freaner Dep, at 68:25 - 69:25.
               Huver Dec., ¶17 and Ex. 2,
    17         Ringland Dep, at 81:5-17;
               182:7 - 183:2.
    18
         54.   No jury ever rendered a                   54.
    19         verdict finding that Janice
               Harris was acting within the
    20         course and scope of her job
               duties and responsibilities as
    21         DON for Pueblo Springs when
               she was injured.
    22
               Huver Dec., ¶16 and Ex. 1,
    23         Freaner Dep, at 68:25 - 69:25;
               85:4-9; 96:18 - 97:13; 101:14-
    24         25; 103:8-14; 106:10-24;
               109:5-10. Huver Dec., ¶17
    25         and Ex. 2, Ringland Dep, at
               182:7-19.
    26
    27   ///
    28   ///

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     1   55.   Janice Harris had been the                  55.
               Director of Nursing for Pueblo
     2         Springs for about 6 months
               when she was notified about
     3         the June Lake budget retreat.
     4         Huver Dec., ¶19 and Ex. 4,
               Deposition of Janice Nargi
     5         (formerly Janice Harris)
               (“Nargi Dep.”), at 70:7-9.
     6
     7   56.   John Romero was the Facility                56.
               Rehabilitation Director for
     8         Pueblo Springs at the time of
               the June Lake budget retreat.
     9
               Huver Dec., ¶18 and Ex 3,
    10         Romero Dep, at 12:11-24.
    11   57.   Harris’s job duties and                     57.
    12
               responsibilities as DON did
               not include planning for the
    13         budget retreat.

    14         Huver Dec., ¶18, and Ex. 3,
               Romero Dep, at 26:23 - 28:7.
    15
         58.   Harris’s job duty as DON was                58.
    16         having full responsibility for
               the nursing department at
    17         Pueblo Springs, including
               providing social services and
    18         activities for the patients.
    19         Huver Dec., ¶19 and Ex. 4,
               Nargi Dep., at 30:15-19.
    20
         59.   The purpose for the June Lake               59.
    21         budget retreat was to set the
               2014 budget for Pueblo
    22         Springs, see where things
               stood at the Pueblo facility and
    23         set goals for 2014.
    24         Huver Dec., ¶18 and Ex. 3,
               Romero Dep, at 35:5-10.
    25
    26   ///
    27   ///
    28   ///

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     1   60.   The printed agenda for the                  60.
               June Lake budget retreat was
     2         sent to Harris and Romero
               shortly before the retreat, and
     3         did not mention riding ATVs
               or shooting guns as planned
     4         activities.
     5         Defs’ Ex. 1, pgs. 114-115,
               ¶16. Huver Dec., ¶18 and Ex.
     6         3, Romero Dep, at 29:10-13;
               30:9-24; 31:7-25; 32:3-5.
     7         Huver Dec., ¶20 and Ex. 5, pg.
               172.
     8
     9   61.   The June Lake budget retreat                61.
               was the first budget retreat
    10         Harris had attended.
    11         Huver Dec., ¶18 and Ex. 3,
    12
               Romero Dep, at 34:21-35:4.

    13   62.   The budget retreat had been                 62.
    14         allegedly negligently planned
               and organized by Bishop Care
    15         Center and Plum Healthcare
               Group, LLC.
    16
               Defs’ Ex. 1, pg. 114, ¶15.
    17
         63.   Janice Harris was not an                    63.
    18         employee of either Bishop
               Care Center or Plum
    19         Healthcare Group, LLC.
    20         Huver Dec., ¶19 and Ex. 4,
               Nargi Dep, at 30:7-19.
    21
         64.   Harris understood that after                64.
    22         they had lunch in Bishop, she
               was supposed to have the
    23         afternoon off for free time
               before leaving for the budget
    24         retreat which was being held
               at a resort hotel in June Lake,
    25         CA.
    26         Huver Dec., ¶19 and Ex. 4,
               Nargi Dep, at 139:16 - 140:12;
    27         141:2 - 142:1. Defs’ Ex. 3, pgs.
               114-115, ¶16.
    28

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     1   65.   However, after lunch, Scott               65.
               Clawson announced there
     2         were surprise activities - a
               shooting range and Rhino
     3         ATVs.
     4         Huver Dec., ¶18 and Ex. 3,
               Romero Dep, at 53:2-25;
     5         54:21-25; 56:8-22. Defs’ Ex.
               3, pgs. 114-115, ¶¶15, 16.
     6
     7   66.   The shooting range and Rhino              66.
               ATVs were not part of the
     8         printed agenda for the June
               Lake budget retreat.
     9
               Huver Dec., ¶18 and Ex. 3,
    10         Romero Dep, at 56:23 - 57:12.
    11
               Huver Dec., ¶20 and Ex. 5, pg.
               172.
    12   67.   Harris was not injured at the             67.
    13         location where the budget
               retreat was scheduled to take
    14         place - a resort hotel in June
               Lake - but rather in Bishop.
    15
               Defs’ Ex. 1, ¶¶14, 15, 16, 17,
    16         22, pgs. 114-116.

    17
         68.   Participation in voluntary,               68.
    18         recreational activities at
               Plum’s budget retreat was not
    19         within the job duties and
               responsibilities of Janice
    20         Harris as the DON.
    21         Huver Dec., ¶18 and Ex. 3,
               Romero Dep, at 39:17-25;
    22         45:19 - 46:8; 73:24 - 74:12;
               74:13-19; 109:6-25.
    23
         69.   Generally at Plum budget                  69.
    24         retreats, any voluntary,
               recreational or free-time
    25         activities that might occur
               outside of the budget meetings
    26         were not mandatory for
               employees to attend.
    27
               Huver Dec., ¶18 and Ex. 3,
    28         Romero Dep, at 39:17-25.

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     1   70.   Harris and others were                     70.
               instructed not to tell anyone
     2         about the surprise ATV and
               gun range activities because
     3         they had not been approved.
     4         Defs’ Ex. 3, pg. 115, ¶17.
     5   71.   While riding in the ATV, it                71.
               rolled over, and Harris
     6         suffered injuries to her right
               leg and ankle, multiple
     7         surgeries, incurred significant
               medical expenses and alleged
     8         a significant loss of earnings.
     9         Defs’ Ex. 3, ¶21, pg. 116; ¶29,
               pg. 118; and ¶31, pg. 119.
    10         Wilson Dec., ¶4, 5.
    11   72.   Plum’s settlement of the                   72.
    12
               Harris lawsuit occurred after a
               mediation before a neutral
    13         mediator, and was not the
               product of fraud or collusion.
    14
               Wilson Dec., ¶9.
    15
         73.   Homeland was invited to                    73.
    16         attend the Harris mediation but
               refused to do so.
    17
               Huver Dec., ¶16 and Ex. 1,
    18         Freaner Dep, at 169:8-25;
               170:11-25. Wilson Dec., ¶9.
    19
         74.   Plum Healthcare Group, LLC,                74.
    20         paid $775,000 to Janice Harris
               to settle her bodily injury
    21         claims alleged in the Harris v.
               Plum Healthcare lawsuit only.
    22
               Wilson Dec., ¶9, 11, and Ex.
    23         7, pg. 63.
    24   75.   Plum’s settlement of the                   75.
               Harris lawsuit for $825,000
    25         was reasonable. The case had
               a potential jury verdict range
    26         of $4 - 5,000,000, mounting
               legal fees, and exposure to
    27         multiple cross-complaints.
    28         Wilson Dec., ¶4-9.

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     1   76.   Plum Healthcare Group, LLC,                  76.
               paid $50,000 to Travelers
     2         Insurance Company to resolve
               the workers comp lien claim.
     3
               Wilson Dec., ¶12, and Ex. 8,
     4         pgs. 64-65.
     5
     6   ISSUE:      HOMELAND’S REFUSAL TO DEFEND AND INDEMNIFY
                     PLUM AGAINST THE HARRIS LAWSUIT WAS
     7               UNREASONABLE AND IN BAD FAITH
     8   Plaintiffs’ Disputed/Undisputed                    Defendants’ Response and
         Material Facts and Supporting                      Supporting Evidence:
     9   Evidence:
    10   77.   Plum refers to and                           77.
    11
               incorporates herein by
               reference PSSF Nos. 1-76 and
    12
               all supporting evidence.

    13   78.   Homeland intentionally                       78.
    14         rejected the factual allegations
               set forth in paragraphs 14, 15,
    15         16, 17 and 22 of Harris’s
               complaint in order to justify its
    16         refusal to defend Plum.

    17         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 62:16 - 63:4;
    18         115:8-14; 131:4-14; 143:9 -
               144:10. Huver Dec., ¶23 and
    19         Ex. 14, pgs. 202-206, ¶25-32,
               36-37, 42-48.
    20
         79.   Homeland never looked for                    79.
    21         facts that would have
               supported Harris’s allegations
    22         that she was outside the course
               and scope of her job duties.
    23
               Huver Dec., ¶16 and Ex. 1,
    24         Freaner Dep, at 70:15-20;
               71:9-25; 72:23 - 73:25; 75:6-
    25         24; 75:25 - 77:23. Huver
               Dec., ¶17 and Ex. 2, Ringland
    26         Dep, at 96:1 - 98:9; 130:10 -
               131:4; 184:25 - 185:7; 186:8-
    27         21. Huver Dec., ¶23 and Ex.
               14, pg. 204, ¶36-37.
    28

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     1   80.   Homeland refused to defend                  80.
               Plum despite knowing they
     2         were required to do so even if
               there was just a “potentially”
     3         covered claim for which it
               might turn out later there was
     4         no covered claim.
     5         Huver Dec., ¶16 and Ex. 1,
               Freaner Dep, at 116:19 -
     6         117:2; 117:11-25; 118:14-20;
               119:3-6.
     7
         81.   Homeland denied Plum’s                      81.
     8         claim knowing they had not
               conclusively established any
     9         exclusion negated coverage.
    10         Huver Dec., ¶16 and Ex. 1,
    11
               Freaner Dep, at 116:19 -
               117:2; 117:11-25; 118:14-20;
    12
               119:3-6. Huver Dec., ¶17 and
               Ex. 2, Ringland Dep, at 101:12
    13         - 102:8; 103:8-23; 104:11-15;
               106:12 - 107:9; 109:7 - 110:1;
    14         130:2-9.

    15   82.   Homeland claimed it was                     82.
               “confused” by contradictions
    16         between Harris’s lawsuit and
               her workers comp claim, but
    17         failed to comply with their
               obligation to resolve doubts
    18         about whether facts in Harris’s
               lawsuit triggered their duty to
    19         defend in favor of coverage
               for Plum.
    20
               Huver Dec., ¶16 and Ex. 1,
    21         Freaner Dep, at 63:20 - 64:16;
               127:7 - 128:2; 143:9 - 144:10.
    22         Huver Dec., ¶17 and Ex. 2,
               Ringland Dep, at 78:8-22;
    23         79:12 - 80:2; 112:4-14.
    24
         83.   Homeland denied Plum’s                      83.
    25         claim for a defense knowing
               they had no idea what the
    26         ultimate outcome would be of
               either Harris’s civil lawsuit or
    27         her workers comp claim.
    28

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      1         Huver Dec., ¶16 and Ex. 1,
                Freaner Dep, at 150:17-19.
      2         Huver Dec., ¶17 and Ex. 2,
                Ringland Dep, at 112:4-14;
      3         130:2-9.
      4   84.   Homeland denied Plum’s                    84.
                claim for a defense and relied
      5         on Exclusion (D)(7) even
                though they did not know
      6         whether participating in the
                Rhino ATV activity was
      7         within Harris’s job duties as
                DON.
      8
                Huver Dec., ¶17 and Ex. 2,
      9         Ringland Dep, at 101:12 -
                102:8; 184:25 - 185:7; 186:8-
     10         12.
     11   85.   Homeland denied Plum’s                    85.
     12
                claim for a defense without
                ever asking Plum whether
     13         participating in the Rhino
                ATV activity was within
     14         Harris’s job duties as DON.

     15          Huver Dec., ¶17 and Ex. 2,
                Ringland Dep, at 101:12 -
     16         102:8; 184:25 - 185:7; 186:8-
                12.
     17
          86.   Homeland denied Plum’s                    86.
     18         claim for a defense, relying
                solely on the “Insured v.
     19         Insured” Exclusion (D)(7)
                even though they knew they
     20         had not conclusively proven
                that Harris was an “Insured.”
     21
                Huver Dec., ¶16 and Ex. 1,
     22         Freaner Dep, at 68:25 - 69:25;
                78:6-15; 80:20 - 81:19; 94:25
     23         - 95:22; 95:23 - 96:5; 96:18 -
                97:13; 101:14-25; 103:8-14;
     24         106:10-24; 109:5-10; 116:10-
                14; 149:23 - 150:5. Huver
     25         Dec., ¶17 and Ex. 2, Ringland
                Dep, at 81:5-17; 103:8-23;
     26         104:11-15; 105:21 - 106:4;
                112:4-14; 182:7-19.
     27
     28

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      1   87.   Homeland failed to adequately              87.
                investigate Plum’s claim
      2         before denying a defense.
      3         Huver Dec., ¶16 and Ex. 1,
                Freaner Dep, at 70:15-20;
      4         71:9-25; 72:23 - 73:25; 75:6-
                24; 75:25 - 77:23. Huver
      5         Dec., ¶17 and Ex. 2, Ringland
                Dep, at 96:1 - 98:9; 130:10 -
      6         131:4; 184:25 - 185:7; 186:8-
                21.
      7
      8   88.   Homeland never contacted                   88.
                anyone at Plum’s broker to
      9         investigate whether Harris’s
                allegations in her lawsuit that
     10         she was outside the course and
     11
                scope of her job duties were
                potentially true.
     12         Huver Dec., ¶16 and Ex. 1,
     13         Freaner Dep, at 70:15-20;
                71:9-25.
     14
          89.   Homeland never asked Plum                  89.
     15         whether Harris’s allegations
                that she was outside the course
     16         and scope of her job duties
                were true or not.
     17
                Huver Dec., ¶16 and Ex. 1,
     18         Freaner Dep, at 71:9-25.
                Huver Dec., ¶17 and Ex. 2,
     19         Ringland Dep, at 96:1 - 98:9;
                102:9-14; 184:25 - 185:7;
     20         186:8-12.
     21   90.   Homeland never contacted                   90.
                Harris or her lawyers to
     22         investigate whether the
                complaint’s allegations that
     23         she was not in the course and
                scope of her job duties were
     24         true or not.
     25         Huver Dec., ¶16 and Ex. 1,
                Freaner Dep, at 75:25 - 77:23.
     26         Huver Dec., ¶17 and Ex. 2,
                Ringland Dep, at 88:24 -
     27         89:12; 90:21-25.
     28

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      1   91.   No one at Plum ever told                     91.
                Homeland that Harris was
      2         acting within the course and
                scope of her job duties as
      3         DON because Homeland never
                asked that question.
      4
                Huver Dec., ¶17 and Ex. 2,
      5         Ringland Dep, at 102:9-14.
      6   92.   Homeland ignored Plum’s                      92.
                pleas for a defense, rejecting
      7         out of hand Plum’s CEO’s
                letter pointing to Harris’s
      8         allegations in her complaint.
      9         Freaner Dec., ¶15-17. Huver
                Dec., ¶16 and Ex. 1, Freaner
     10         Dep, at 135:3-15; 135:25 -
     11
                137:14; 139:3 - 140:7.

     12   93.   Homeland rejected Toby                       93.
     13         Tilford’s letter, even though
                they did not disagree with his
     14         position that Harris was not an
                “Insured.”
     15
                Huver Dec., ¶16, and Ex. 1,
     16         Freaner Dep, at 135:3-15;
                135:25 - 137:14; 139:3 -
     17         140:7.
     18   94.   Homeland made the decision                   94.
                to deny Plum’s request for a
     19         defense just 2 days after
                Daniele Freaner was assigned
     20         as the claims adjuster.
     21         Freaner Dec., ¶7, 9, 11.
     22   95.   Homeland intentionally                       95.
                asserted the “Owned Auto”
     23         Exclusion (B)(9) in answers to
                interrogatories in this bad faith
     24         litigation as support for their
                decision to deny Plum a
     25         defense, even though they
                knew (B)(9) did not apply.
     26
                Huver Dec., ¶16 and Ex. 1,
     27         Freaner Dep, at 55:17 - 56:18;
                58:24 - 59:12; 91:10 - 92:13;
     28         93:17-20; 93:21 - 94:11.

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      1         Huver Dec., ¶17 and Ex. 2,
                Ringland Dep, at 145:13-19;
      2         147:9-19; 152:2-5. Huver
                Dec., ¶23 and Ex. 14, expert
      3         Reilly report, pg. 204, ¶40.
      4   96.   Homeland recklessly                        96.
                disregarded the allegations in
      5         Harris’s lawsuit and
                unilaterally decided the
      6         disputed issue of Harris’s
                “course and scope” so they
      7         could deny Plum’s claim.
      8         Huver Dec., ¶93 and Ex. 1,
                Freaner Dep, at 115:8-14;
      9         113:4-14.
     10   97.   Homeland was consistently                  97.
     11
                and erroneously focused only
                on the fact that Harris was an
     12
                “employee” when she was
                injured, even though they
     13         knew the correct standard
                required Harris to be an
     14         “Insured” in order for
                Exclusion (D)(7) to apply.
     15
                Huver Dec., ¶16 and Ex. 1,
     16         Freaner Dep, at 94:25 - 95:22;
                113:15 - 114:7; 123:6-19;
     17         124:9-20; 126:2-9. Huver
                Dec., ¶17 and Ex. 2, Ringland
     18         Dep, at 130:10 - 131:4; 139:6 -
                140:4; 186:8-24. Huver Dec.,
     19         ¶23 and Ex. 14, expert Reilly
                report, pgs. 202-203, ¶25-33.
     20
          98.   Homeland knew someone                      98.
     21         could be an “Employee” and
                not be an “Insured” but
     22         persisted in asserting that
                Exclusion (D)(7) precluded
     23         coverage simply because
                Harris was an “Employee.”
     24
                Huver Dec., ¶16 and Ex. 1,
     25         Freaner Dep, at 113:15 -
                114:7. Huver Dec., ¶17 and
     26         Ex. 2, Ringland Dep, at 03:8-
                23; 104:11-15; 105:21 - 106:4.
     27         Huver Dec., ¶23 and Ex. 14,
                expert Reilly report, pgs. 202-
     28         202, ¶25-33.

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      1   99.   Homeland recklessly and                     99.
                intentionally insisted that once
      2         Harris was an “Employee,” she
                was also an “Insured,” even
      3         though they knew these
                defined terms had different
      4         meanings.
      5         Huver Dec., ¶16 and Ex. 1,
                Freaner Dep, at 95:23 - 96:5;
      6         116:10-14; 149:23 - 150:5;
                113:15 - 114:7. Huver Dec.,
      7         ¶17 and Ex. 2, Ringland Dep,
                at 94:5-18; 103:8-23; 105:21 -
      8         106:4; 130:2-9; 180:5-11.
                Huver Dec., ¶23 and Ex. 14,
      9         expert Reilly report, pgs. 202-
                203, ¶25-32.
     10
     11   100. Although Homeland claimed                    100.
     12
               Harris’s civil lawsuit’s
               allegations were “groundless,
     13        false or fraudulent,” they knew
               they were still obligated to
     14        defend Plum but intentionally
               refused to do so.
     15
                Defs’ Ex. 1, Section (I)(F), pg.
     16         44. Huver Dec., ¶16 and Ex.
                1, Freaner Dep, at 115:24 -
     17         116:9. Huver Dec., ¶17 and
                Ex. 2, Ringland Dep, at 153:25
     18         - 154:22. Huver Dec., ¶23 and
                Ex. 14, expert Reilly report,
     19         pgs. 202-203, ¶25-31.
     20   101. Homeland consciously and                     101.
               intentionally rejected any
     21        notion of defending Plum
               under a reservation of rights,
     22        even though they knew if any
               doubt regarding coverage
     23        existed, doing so was the best
               way to protect their insured.
     24
                Huver Dec., ¶16 and Ex. 1,
     25         Freaner Dep, at 156:5-19.
                Huver Dec., ¶17 and Ex. 2,
     26         Ringland Dep, at 37:22 - 39:2;
                42:18 - 43:17; 44:13-17.
     27         Huver Dec., ¶23 and Ex. 14,
                expert Reilly report, pg. 204,
     28         ¶38.

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      1   102. Homeland has persisted in                  102.
               refusing to indemnify Plum
      2        for the Harris settlement, even
               though Homeland agrees the
      3        issue of whether Harris was in
               the course and scope of her job
      4        duties has never been
               conclusively established.
      5
                Huver Dec., ¶16 and Ex. 1,
      6         Freaner Dep, at 63:20 - 64:16;
                68:25 - 69:25; 80:20 - 81:19;
      7         85:4-9; 96:18 - 97:13; 101:14-
                25; 103:8-14; 106:10-24;
      8         109:5-10; 127:7 - 128:2;
                150:17-19. Huver Dec., ¶17
      9         and Ex. 2, Ringland Dep,
                81:5-17; 106:12 - 107:9; 109:7
     10         - 110:1; 130:2-9; 182:7-19.
     11
                Huver Dec., ¶15 and Ex. 13.

     12   103. Homeland has persisted in its              103.
     13        bad faith refusal to indemnify
               Plum by raising 2 new
     14        exclusions 2 years after
               denying Plum’s claim - (D)(2)
     15        and (D)(5) - even though they
               know these exclusions do not
     16        apply.

     17         Huver Dec., ¶16 and Ex. 1,
                Freaner Dep, at 137:15 -
     18         138:11. Huver Dec., ¶17 and
                Ex. 2, Ringland Dep, at 178:4-
     19         24. Defs’ Ex. 5, pgs. 147-151.
                Docket Nos. 10, 32. Huver
     20         Dec., ¶8, 10, 21.
     21
          104. Homeland’s claims adjuster                 104.
     22        Freaner and claims manager
               Ringland insist if they had the
     23        opportunity to adjust Plum’s
               claim again, they would treat
     24        Plum the exact same way and
               not change one thing they did.
     25
                Huver Dec., ¶16 and Ex. 1,
     26         Freaner Dep, at 122:11-21.
                Huver Dec., ¶17 and Ex. 2,
     27         Ringland Dep, at 176:5 -
                177:4.
     28

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      1   105. Homeland’s conduct in                      105.
               denying Plum’s claim for a
      2        defense was unreasonable, was
               in total disregard of Plum’s
      3        interests, put Homeland’s
               interests ahead of Plum’s, and
      4        demonstrated a lack of proper
               training and/or supervision.
      5
                Huver Dec., ¶23 and Ex. 14,
      6         report of expert David Reilly,
                ¶25-48.
      7
      8   106. Plum paid an annual premium                106.
               of $3,125,000 for The Policy.
      9
                Defendants’ Ex. 1, pg. 12.
     10
     11   107. Plum owes a 40% contingency                107.
     12
               attorney fee on any recovery in
               this case as a result of
     13        Homeland’s refusal to defend
               and indemnify them.
     14
                Huver Dec., ¶22 and Ex. 12.
     15
          108. Plum is entitled to interest on            108.
     16        the $825,000 settlement and
               the $112,500 in attorneys’ fees
     17        and costs incurred to defend
               and settle the Harris lawsuit,
     18        totaling at least $92,968.75 as
               of this date.
     19
     20                                          Respectfully submitted,
     21                                          THE HUVER LAW FIRM
                                                 and
     22                                          HARRIS I. STEINBERG, ESQ.
     23
     24   DATED: April 10, 2017                  By:      /s/ Richard Huver
                                                          RICHARD HUVER
     25                                                   Attorneys for Plaintiffs
     26
     27
     28

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